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                  Exhibit 9
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Date: Wednesday, November 17, 2021 10:19:25 PM                                                            Print           Close

  DOI00013593                                                                  View: SF: Disclosure Legal Consulting
 ID: DOI00013593
 Name: Daniel Smith 2021 - Demos & Perkins Coie
 Disclosure Type: Legal Consulting
 Status: Review Complete
 Department: 16380000 LS-POLITICAL SCIENCE
 Disclosure Submitted Date/Time: Jun 04, 2021 7:20pm
 Level 1 Review: Approved on Nov 05, 2021 7:43pm
 Level 2 Review: Approved on Nov 05, 2021 8:01pm



Disclosure for Daniel Smith: Legal Consulting
    1. * Does this legal consulting/expert witness engagement relate to
        medical malpractice or any healthcare-related matter?
           Yes
           No


        * Does this legal consulting/expert witness engagement relate to a
        civil, criminal or administrative proceeding? Indicate any that apply.
           There are no items to display


    2. * Will you be hired by the Government, Plaintiff, or Defendant?
        Indicate any that apply.
           There are no items to display
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    3. Enter Plaintiff(s) name:
        Dream Defenders / Kirk Nielsen / Linda Lewis



    4. Enter Plaintiff law firm/attorney name:
        Demos & Perkins Coie


    5. Enter Defendant(s) name:
        Ron DeSantis / Ron DeSantis / Ruth Hughes


    6. Enter Defendant law firm/attorney name:

    7. City/State where the alleged issue occurred or relates to:
        Gainesville




    8. * Is the estimated annual compensation $5,000 or more?
           Yes
           No




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    9. * Will UF equipment, facilities, services, resources be used (on a
        more than incidental basis), or will staff and/or students be involved
        in this activity or financial interest?
           Yes
           No



 10. * Are you participating in UF research that would affect the disclosed
        entity (e.g. the entity: sponsors the research, makes a drug or device
        being evaluated in the study, options or licenses related technology
        or is otherwise related to the study)?
           Yes
           No


 11. * Please explain whether you think this activity/case could in any way
        place you in a position that is adverse to the interests of the
        University of Florida.
        No.

        I was asked by Perkins Coie & Demos counsel to shift my expert work from Perkins Coie
        to Demos in a consolidated lawsuit in Florida; in Texas, I've been retained by Perkins
        Coie


        Both of these cases, in FL and in TX, pertain to expanding the opportunities for voters to
        cast vote-by-mail ballots in light of health concerns resulting from COVID-19.

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        Information Verification Act in North Carolina,” Florida State University Law Review
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        Michael C. Herron and Daniel A. Smith. 2012. “Souls to the Polls: Early Voting in Florida
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        APSA State Politics and Policy Section’s Best Paper Award]


 12. * Please upload an agreement with the entity to authenticate your
        responses to the questions in this section. If you do not have a
        formal agreement, please upload any email, correspondence, or
        document that serves the same purpose.
           Name                                         Description
           There are no items to display


 13. Additional relevant information, if any, that would help clarify this
        disclosure:
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 14. Attach any additional supporting documentation, if applicable
        (descriptive emails, letters, etc.):
           Name                                         Description
           There are no items to display




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  DOI00013593                                                                               View: SF: Time Commitment


Disclosure for Daniel Smith: Legal Consulting
Time Commitment

    1. * Approximately how long do you expect this activity or relationship
         to last in total?
         More than 6 weeks


    2. * Estimated start date:
         7/1/2021


    3. Estimated end date:

         I am not sure of the end date: 

         * Please explain how long you expect the activity to last:
         I have no idea.


    4.
         *Approximately how many hours per week do you expect to spend on
         this activity?(Numerical values only, please)
         2


    5. Explain any additional information to clarify the dates or time
         commitment involved:


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  DOI00013593                                                                                         View: SF: Certification


Disclosure for Daniel Smith: Certification
My initials on this completed electronic disclosure affirm and certify an understanding of and
compliance with UF's policies on conflicts of interest, outside activities, and financial interests
as well as the completeness and accuracy of my responses in this disclosure.

I will keep my disclosures up-to-date and accurate, and I confirm I understand and
agree with the above statements. Enter initials here: * das




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